Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3953 Filed 12/04/23 Page 1 of
                                      11




                             EXHIBIT B
            Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3954 Filed 12/04/23 Page 2 of
                                                  11




Communities of Interest Process
References: Tom Ivacko, CLOSUP, “Report to the MICRC”; Justin Levitt, “Rules of Redistricting: COIs”
           Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3955 Filed 12/04/23 Page 3 of
                                                 11



Mission, Vision, and Values
Mission: Lead Michigan’s redistricting process
to assure Michigan’s Congressional, State
Senate, and State House district lines are
drawn fairly in a citizen-led, transparent
process, meeting Constitutional mandates.      Core Values:
Vision: Chart a positive course for elections    ✓Integrity
based on fair maps for Michigan today and for    ✓Respect
the future.                                      ✓Transparency
                                                 ✓Purposeful
             Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3956 Filed 12/04/23 Page 4 of
                                                   11

Why Communities of Interest
are Important in Redistricting
• To promote fair, representative districts by reflecting diverse
  communities and their distinct interests
• To keep common interest groups intact, so they can elect
  representatives, who will be responsive to their unique interests
• To encourage continuing interaction and civic engagement among
  community members in the communities in which they live
• Although COIs have been used for decades in redistricting, an open,
  transparent process for people to self-identify as COIs is new.
         Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3957 Filed 12/04/23 Page 5 of
                                               11

Why Communities of Interest
are Important in Redistricting
It is so important that it is ranked 3rd in the
list of criteria in the Michigan Constitution
after
1. Federal requirements for equal
     population and Voting Rights Act
2. Geographically continuous
         Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3958 Filed 12/04/23 Page 6 of
                                               11



What are Communities of Interest?
“Communities of Interest may include, but shall
not be limited to, populations that share cultural
or historical characteristics or economic interests
...
do not include relationships with political parties,
incumbents, or political candidates.”
          Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3959 Filed 12/04/23 Page 7 of
                                                11

Characteristics of
Communities of Interest
• Self-defined by the local community members
• Associated with a contiguous area on a map
• Shared common bonds linked to public policy
  issues or identities that may be affected by
  legislation; likely to result in a desire to share the
  same legislative district in order to secure more
  effective representation
            Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3960 Filed 12/04/23 Page 8 of
                                                  11

What does the MICRC Want to Know
about Communities of Interest?
• What name would you give your community?
• What is the common bond that creates your community’s shared
  identity?
• What is the geographic area covered by your community?
• What governmental policies are important for your community?
• How would keeping your community intact enhance the quality of
  your representation in Congress or the Michigan legislature?
• Are there nearby areas that strengthen or weaken your COI?
              Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3961 Filed 12/04/23 Page 9 of
                                                    11

Examples of
Communities of Interest
Ethnic or Racial Group              School District
Agricultural Group                  Arts Organization
Native American Tribe               Neighborhood Association
Religious Community                 Economic Zone
Tourism Area                        Outdoor Recreation Area
Historical Group                    Health System Area
Communities Defined by              Shared Watershed or Lakeshore
Natural Features
             Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3962 Filed 12/04/23 Page 10
                                                 of 11



Key Issues
• Explaining the concept of a COI so citizens can understand the
  concept and advocate for the COI which they are part of or interact
  with in their communities
• Identify key questions the MICRC wants to ask and learn about a COIs
  in its public testimony
• Continuously synthesize COI findings and testimony from the public to
  utilize in drawing new district plans
             Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-3, PageID.3963 Filed 12/04/23 Page 11
                                                 of 11



Recommendations
• Shared explanation of Communities of Interest to provide to the
  public.
• Identify key questions the MICRC would like to hear about COIs in
  public testimony
• Considerations for group presentations
• Consider efforts to discern between better-resourced groups and
  others
